                              United States Bankruptcy Court
                              Eastern District of Pennsylvania
In re:                                                 Case No. 23-13237-pmm

          Tri-State Paper, Inc.,                       Chapter 11

                         Debtor.                       EXHIBIT A


                             Declaration by US Realty Associates, Inc.

          1. I am Vice President of US Realty Associates, Inc. and make this declaration on its

behalf.

          2. USRA has no connection with the debtor, creditors, any other party in interest, their

respective attorneys and accountants, the United States trustee, or any person employed in the

office of the United States trustee.

          3. USRA is not a creditor of the debtor.

          4. USRA can perform services required by the debtor relating to this case. USRA is a

commercial real estate brokerage company specializing in the sales of high-profile properties.

          5. USRA has agreed to render professional services for the debtor in return for

compensation as set forth in the attached contract.

          6. USRA did not receive any payments from the debtor within the 90 days preceding the

order for relief.

          7. I understand that, if USRA is approved to serve as the Debtor’s Real Estate Agent, all

professional fees and services incurred in a bankruptcy case are required to be approved by the

bankruptcy court upon application and after notice to all creditors and interested parties.

          8. I further understand that payment of professional fees by the debtor may only occur

after the bankruptcy court has approved those fees, and that USRA must report payment of any

fees from non-debtor sources if made on behalf of the debtor.

          9. I declare under penalty of perjury that the foregoing is true and correct to the best of

my knowledge, information, and belief.


Date: December 4, 2023                               /s/ Gregory R. Bianchi
                                                     Gregory R. Bianchi
